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5
     Attorney for Defendant
     MELISSSA TORRES
6
                              IN THE UNITED STATES DISTRICT COURT
7
                            FOR THE EASTERN DISTRICT OF CALIFORNIA

8

9    UNITED STATES OF AMERICA,                       )       No. CR-S-14-097 MCE
                                                     )
                                                     )
10           Plaintiff,                              )       STIPULATION REGARDING
11
                                                     )       EXCLUDABLE TIME PERIODS
     v.                                              )       UNDER SPEEDY TRIAL ACT;
                                                     )       FINDINGS
12
     MELISSA TORRES, and                             )
                                                     )       Date: April 23, 2015
13   SALLY EVANS,                                    )       Time: 9:00 a.m.
14
                                                     )       Judge: Honorable Morrison C. England, Jr.
             Defendants.                             )
                                                     )
15
                                                     )
16
             The United States of America through its undersigned counsel, Christiaan Highsmith,
17
     Assistant United States Attorney, together with counsel for defendant Melissa Torres, John R.
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19   Manning, Esq., and counsel for defendant Sally Evans, James R. Greiner, Esq., hereby stipulate

20   the following:
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          1. By previous order, this matter was set for status conference on March 26, 2015.
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          2. By this stipulation, defendants Melissa Torres and Sally Evans now move to continue the
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24
     status conference until April 23, 2015 and to exclude time between March 26, 2015 and April 23,

25   2015 under the Local Code T-4 (to allow defense counsel time to prepare). Defendant Jorge
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     Magana wishes to remain on the calendar.
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          3. The parties agree and stipulate, and request the Court find the following:
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          a. Currently, the government has provided in excess of 150 pages of discovery as well
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2             as 20 DVDs with video.

3         b. Counsel for the defendants need additional time to review the discovery, conduct
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              investigation, and interview potential witnesses. Additionally, the government has
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              made preliminary offers to resolve the matters. Counsel for these defendants need
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              additional time to review the offer(s), review the relevant guideline sections and

8             discuss the offer(s) with their clients.
9         c. Counsel for defendants believe the failure to grant a continuance in this case would
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              deny defense counsel reasonable time necessary for effective preparation, taking into
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              account the exercise of due diligence.
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13        d. The government does not object to the continuance.

14        e. Based on the above-stated findings, the ends of justice served by granting the
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              requested continuance outweigh the best interests of the public and the defendants in
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              a speedy trial within the original date prescribed by the Speedy Trial Act.
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          f. For the purpose of computing time under the Speedy Trial Act, 18 United States Code
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19            Section 3161(h)(7)(A) within which trial must commence, the time period of March

20            26, 2015, to April 23, 2015, inclusive, is deemed excludable pursuant to 18 United
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              States Code Section 3161(h)(7)(A) ) and (B)(iv), corresponding to Local Code T-4
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              because it results from a continuance granted by the Court at the defendants' request
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              on the basis of the Court’s finding that the ends of justice served by taking such

25            action outweigh the best interest of the public and the defendants in a speedy trial.
26   4.   Nothing in this stipulation and order shall preclude a finding that other provisions of the
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          Speedy Trial Act dictate that additional time periods are excludable from the period within
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          which a trial must commence.

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     IT IS SO STIPULATED.
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3    Dated: March 19, 2015                           /s/ John R. Manning
                                                    JOHN R. MANNING
4
                                                    Attorney for Defendant
5                                                   Melissa Torres

6    Dated: March 19, 2015                           /s/ James R. Greiner
7
                                                    JAMES R. GREINER
                                                    Attorney for Defendant
8                                                   Sally Evans
9

10
     Dated: March 19, 2015                          Benjamin B. Wagner
                                                    United States Attorney
11
                                                    by:/s/ Christiaan Highsmith
12
                                                    CHRISTIAAN HIGHSMITH
13                                                  Assistant U.S. Attorney

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15
                                        ORDER

16         IT IS SO ORDERED.
17   Dated: March 24, 2015
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